                                                                            EXHIBIT
                                                                         Daniel Knight 11-17-21

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                  EXHIBIT 1




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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

BOAZ PLEASANT-BEY,                           )
                                             )
               Plaintiff,                    )
                                             )
Vv.                                          )       No. 3:19-cv-00486
                                             )       Judge Trauger
STATE OF TENNESSEE, et al.                   )
                                             )      JURY DEMAND
               Defendants.                   )



                     NOTICE OF DEPOSITION OF DANIEL KNIGHT

       TO:     Daniel Knight

               c/o Erin Palmer Polly
               K&L Gates LLP (Nashville)
               222 Second Avenue South, Suite 1700
               Nashville, TN 37201

       You are hereby notified that on the 17% day of November, 2021, beginning at 1:00 p.m.

CST, by way of Zoom, counsel for Plaintiff will proceed to take your deposition upon oral

examination for the preservation of testimony pursuant to Rule 30 of the Tennessee Rules of Civil

Procedure. The deposition will be recorded by stenographical means and a simultaneous record

will be made by a notary public or some other office duly authorized by law to take depositions.

The Zoom information will be provided to call counsel of record prior to the deposition.




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 Dated: November 2, 2021                 Respectfully submitted,

                                         /s/ Tricia Herzfeld
                                         Tricia Herzfeld (BPR #26014)
                                         Anthony A. Orlandi (BPR #33988)
                                         Branstetter, Stranch & Jennings, PLLC
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                                         Nashville, TN 37203
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                                        Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 2, 2021 a true and correct copy of the

foregoing document was served by way of electronic mail upon the following:

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                                                   /s/ Tricia Herzfeld
                                                   Tricia Herzfeld




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                                                                          EXHIBIT
                                                                       Daniel Knight 11-17-21

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                  EXHIBIT 2




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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


 RICKY OLIVER,                                     )
                                                   )
         Plaintiff,                                )
                                                   )   NO. 3:19-cv-00488
 Vv.                                               )
                                                   )    JUDGE RICHARDSON
 DANIEL KNIGHT,                                    )
                                                   )
         Defendant.                                )

                                  MEMORANDUM           OPINION

        Before the Court is a pro se complaint for alleged violation of civil rights (Doc. No. 1),

filed by Ricky Oliver, an inmate at the Trousdale       Turner Correctional Center in Hartsville,

Tennessee. After initially filing an application to proceed in forma pauperis (IFP) supported by

evidence of his attempts    to procure the necessary documents      from his inmate trust account

custodian (Doc. No. 2), Plaintiff filed a second IFP application with these documents attached.

(Doc. No. 4.)

        This matter is now before the Court for a determination of Plaintiff’s pauper status and an

initial review of the complaint pursuant to the Prison Litigation Reform Act (PLRA), 28 U.S.C.

§§ 1915(e)(2) and 1915A, and 42 U.S.C. § 1997.

                        APPLICATION TO PROCEED AS A PAUPER

       Under the PLRA, 28 U.S.C. § 1915(a), a prisoner bringing a civil action may apply for

permission to file suit without prepaying the filing fee of $350.00 required by 28 U.S.C. § 1914(a).

Because it is apparent from Plaintiff’s IFP application that he lacks the funds to pay the entire

filing fee in advance, his application (Doc. No. 4) will be granted by separate Order.




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                             INITIAL REVIEW OF THE COMPLAINT

I. PLRA SCREENING STANDARD

           Pursuant to 28 U.S.C. § 1915(e)(2)(B), the Court must dismiss any IFP complaint that is

facially frivolous or malicious, fails to state a claim upon which relief may be granted, or seeks

monetary relief against a defendant who is immune from such relief. Similarly, Section 1915A

provides that the Court shall conduct an initial review         of any prisoner complaint against a

governmental entity, officer, or employee, and shall dismiss the complaint or any portion thereof

if the defects listed in Section 1915(e)(2)(B) are identified. Under both statutes, this initial review

of whether the complaint states a claim upon which relief may be granted asks whether it contains

“sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face,”

such that it would survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). Hill

v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (quoting Ashcroft v. Igbal, 556 U.S. 662, 678

(2009)).

           “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Igbal, 556 U.S. at 678. Applying this standard, the Court must view the complaint in the light most

favorable to Plaintiff and, again, must take all well-pleaded factual allegations as true. Tackett v.

M & G Polymers, USA, LLC, 561 F.3d 478, 488 (6th Cir. 2009) (citing Gunasekera v. Irwin, 551

F.3d 461, 466 (6th Cir. 2009) (citations omitted)). Furthermore, pro se pleadings must be liberally

construed and “held to less stringent standards than formal pleadings drafted by lawyers.” Erickson

v. Pardus, 551 U.S. 89, 94 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)). However,

pro se litigants are not exempt from the requirements of the Federal Rules of Civil Procedure,

Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989), nor can the Court “create a claim which [a



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plaintiff] has not spelled out in his pleading.” Brown v. Matauszak, 415 F. App’x 608, 613 (6th

Cir. 2011) (quoting Clark v. Nat'l Travelers Life Ins. Co., 518 F.2d 1167, 1169 (6th Cir. 1975)).

II. SECTION 1983 STANDARD

        Plaintiff seeks to vindicate alleged violations of his federal constitutional rights under 42

U.S.C. § 1983. Section 1983 creates a cause of action against any person who, acting under color

of state law, deprives an individual of any right, privilege or immunity secured by the Constitution

or federal laws. Wurzelbacher v. Jones-Kelley, 675 F.3d 580, 583 (6th Cir. 2012). Thus, to state a

Section 1983 claim, Plaintiff must allege two elements: (1) a deprivation of rights secured by the

Constitution or laws of the United States, and (2) that the deprivation was caused by a person

acting under color of state law. Carl v. Muskegon Cty., 763 F.3d 592, 595 (6th Cir. 2014).

III. ALLEGATIONS AND CLAIMS

        Plaintiff claims that the Defendant, Correctional Officer Daniel Knight, was deliberately

indifferent to Plaintiff’s safety in violation of his Eighth Amendment rights. (Doc. No. 1 at 6.) He

succinctly states the facts in support of this claim, as follows:

       As Oliver was working at his regular job in the prison kitchen on 13 May 2018, a
       huge gang-affiliated inmate approached him and accused him in a loud voice of
       stealing some items which the inmate had stashed to steal himself and ordered
       Oliver “to get out of his chow hall.” When Oliver denied the false accusation, the
       inmate placed his arms around Oliver’s neck putting Oliver into a choke-hold, lifted
       Oliver upwards until his feet no longer touched the floor rendering Oliver’s ability
       to escape harm impossible and causing Oliver to lose consciousness. After Oliver
       had lost consciousness, the inmate dropped Oliver causing him to strike his head
       on a metal table. Oliver suffered blunt impact head trauma and was life-flighted to
       an emergency hospital where he remained hospitalized,                in protracted
       unconsciousness, for over two weeks. He spent several days in intensive care and
       in the trauma unit.

       Throughout this incident, Officer Knight was standing nearby, in very close
       proximity, heard hostile threats to Oliver’s safety, had foreknowledge of the
       inmate’s gang-affiliation, propensity for assaultive behavior, and prior misconduct
       violations, but, he did not intervene and stop the assaultive behavior of the hostile
       inmate. Instead of undertaking corrective action, he simply stood by and watched


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         the unprovoked assault take place even when he had more than sufficient time to
         act to prevent it.

(Id. at 8-9.) Plaintiff sues Defendant in his individual capacity, seeking an award of compensatory

damages. (Id. at 7.)

IV. ANALYSIS

         The Supreme Court has held that “the unnecessary and wanton infliction of pain . . .

constitutes cruel and unusual punishment       forbidden by the Eighth Amendment.”         Hudson    v.

McMillian, 503 U.S. 1, 5 (1992) (quoting Whitley v. Albers, 475 U.S. 312,319 (1986)). An Eighth

Amendment violation may occur when prison guards fail to protect one inmate from an attack by

another inmate. See Walker v. Norris, 917 F.2d 1449, 1453 (6th Cir. 1990). However, “not all

injuries suffered by an inmate at the hands of another prisoner result in constitutional liability for

prison officials under the Eighth Amendment.”         Wilson v. Yaklich, 148 F.3d 596, 600 (6th Cir.

1998).

         To establish an Eighth Amendment claim that a prison official failed to protect an inmate,

the inmate must show that the official was deliberately indifferent “to a substantial risk of serious

harm” to the inmate. Farmer v. Brennan, 511 U.S. 825, 828 (1994); Greene v. Bowles, 361 F.3d

290, 294 (6th Cir. 2004). To meet this standard, the inmate must show “that the official was

subjectively aware of the risk” and “disregard[ed] that risk by failing to take reasonable measures

to abate it.” Greene, 361 F.3d at 294 (quoting Farmer, 511 U.S. at 847). “The Sixth Circuit has

held that where an officer provides an opportunity for attack and does nothing or stands idly by

while an attack takes place without intervening, he violates the attacked prisoner’s constitutional

rights.” Brazelton v. Coffee Cty., No. 4:17-cv-00036, 2018 WL 3999822, at *3 (E.D. Tenn. Aug.

21, 2018) (citing Carico v. Benton, Ireland, and Stovall, 68 F. App’x 632, 639 (6th Cir. 2003)).

See also Blake v. Israel Sexton, Sergeant, New York City Police Dep't, No. 12 CIV. 7245 (ER),


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2016 WL     1241525, at *5 (S.D.N.Y. Mar. 24, 2016) (allowing deliberate indifference claim to

proceed “where defendants are alleged to have failed to intervene to stop an attack they have

actually witnessed”); see generally Davidson v. Cannon, 474 U.S. 344, 348 (1986) (affirming

dismissal of claim that prison officials were negligent in failing to protect inmate from attack by

fellow inmate, which is “quite different” from claim that “officials simply stood by and permitted

the attack to proceed”).

        Here, Plaintiff describes the attack as “unprovoked,” and does not allege that Defendant

did anything to facilitate the encounter between Plaintiff and his assailant. (Doc. No.           1 at 9.)

However, Plaintiff alleges that Defendant was in the kitchen, “in close proximity” to the encounter;

that he heard the other inmate threaten Plaintiff; that he “observed the inmate place his hands

around [Plaintiff]’s neck putting [Plaintiff] into a choke-hold, and lifting [Plaintiff] upwards until

his feet no longer touched the floor”; and that he simply “stood by” during the time it took for

Plaintiff to be choked into unconsciousness. (/d.) Plaintiff specifically alleges that his choking by

the other inmate “lasted long enough for [Defendant] to both perceive what was going on and

intercede to stop it,” but that Defendant nevertheless failed to intercede. (Id.) Presuming these

allegations true as the Court must at this initial stage, they are sufficient to state a colorable Eighth

Amendment claim for failure to protect.

                                           CONCLUSION

        For these reasons, the Court finds that Plaintiff has stated a nonfrivolous claim and will be

allowed to proceed against Defendant.

       An appropriate Order will enter.




                                                        ELI RICHARDSON
                                                        UNITED STATES DISTRICT JUDGE


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                  EXHIBIT 3




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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

 BOAZ PLEASANT-BEY,




                                                  ar’
                                                  a’
           Plaintiff,




                                                  Sw
                                                  Sp
 V.                                                         Civil Action Number 3:19-CV-486




                                                  ws
                                                            District Judge Aleta A. Trauger




                                                  Sa
 STATE OF TENNESSEE,                                        Jury Demand




                                                  aw
 TENNESSEE DEPARTMENT




                                                  Sm
 OF CORRECTIONS, REVEREND



                                                  aw
 BRIAN DARNELL, TONY


                                                  Nw
 PARKER, CORECIVIC, INC.,

                                                  Nr
 JON SHONEBARGER, TOM SIMIC,
                                                  Nw
 and RUSSELL WASHBURN,                            Naa
                                                  Nw




           Defendants.
                                                  Na




                        SECOND SUPPLEMENTAL INITIAL DISCLOSURES


           Defendants CoreCivic, Inc. (“CoreCivic”), Jon Shonebarger (“Shonebarger”), and Russell

 Washburn (“Washburn”) submit their initial disclosures in compliance with Federal Rule of Civil

 Procedure 26(a)(1)(A).

           LL      Federal Rule of Civil Procedure 26(a)(1)(A)(i): The name and, if known, the
                   address and telephone number of each individual likely to have discoverable
                   information -- along with the subjects of that information -- that the disclosing party
                   may use to support its claims or defenses, unless the use would be solely for
                   impeachment.

                   A.     Raymond Byrd has knowledge regarding Plaintiff Boaz Pleasant-Bey’s
                          (“Pleasant-Bey”) incarceration at the Trousdale Turner Correctional Center
                          (“Trousdale”), the customs, policies, education, and training at Trousdale,
                          and the allegations in this lawsuit and may be contacted through the
                          undersigned counsel.

                          Emari Dawson has knowledge regarding Pleasant-Bey’s incarceration at
                          Trousdale, the customs, policies, education, and training at Trousdale, and
                          the allegations in this       lawsuit,   and   may   be   contacted   through   the
                          undersigned counsel.

                          Martin Frink has knowledge          regarding Pleasant-Bey’s      incarceration at
                          Trousdale, the customs, policies, education, and training at Trousdale, and
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                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.

                    Donnelle Harris has knowledge regarding Pleasant-Bey’s incarceration at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.

                    Scottie Hudson has knowledge regarding Pleasant-Bey’s incarceration at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this     lawsuit,   and   may   be   contacted   through    the
                    undersigned counsel.

                    Daniel Knight has knowledge regarding Pleasant-Bey’s incarceration at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this     lawsuit,   and   may   be   contacted   through    the
                    undersigned counsel.

                    Rodney McCloud has knowledge regarding Pleasant-Bey’s incarceration at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.

                    Jacqueline Norman has knowledge regarding Pleasant-Bey’s incarceration
                    at Trousdale, the customs, policies, education, and training at Trousdale,
                    and the allegations in this lawsuit and may be contacted through the
                    undersigned counsel.

                    Yolanda Pittman has knowledge regarding Pleasant-Bey’s incarceration at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.

                    Shonebarger    has   knowledge   regarding   Pleasant-Bey’s    incarceration    at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.

               K.   Tom    Simic   has   knowledge   regarding   Pleasant-Bey’s    incarceration    at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.

                    Vincent Vantell has knowledge regarding Pleasant-Bey’s incarceration at
                    Trousdale, the customs, policies, education, and training at Trousdale, and
                    the allegations in this lawsuit and may be contacted through the undersigned
                    counsel.



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                         Russell Washburn has knowledge regarding Pleasant-Bey’s incarceration at
                         Trousdale, the customs, policies, education, and training at Trousdale, and
                         the allegations in this lawsuit and may be contacted through the undersigned
                         counsel.

                         Brandon Watwood has knowledge regarding Pleasant-Bey’s incarceration
                         at Trousdale, the customs, policies, education, and training at Trousdale,
                         and the allegations in this lawsuit and may be contacted through the
                         undersigned counsel.

                         Agents   and employees    of CoreCivic   identified in documents   regarding
                         Pleasant-Bey may have knowledge regarding Pleasant-Bey’s incarceration
                         at Trousdale, the customs, policies, education, and training at Trousdale,
                         and the allegations in this lawsuit and may be contacted through the
                         undersigned counsel.

                         Defendants may rely on individuals who have been deposed in this matter
                         who have not specifically been identified, including Chris Brun, Vincent
                         Finamore, Robert Hill, Tony Parker, Jon Walton, and Kelly Young.

                         Defendants may rely upon individuals identified in documents produced or
                         subpoenaed in this litigation along with individuals identified by Pleasant-
                         Bey, on the one hand, and the State of Tennessee, the Tennessee Department
                         of Correction (“TDOC”), Reverend Brian Darnell, and Tony Parker (the
                         “State Defendants’), on the other hand, in this lawsuit.

           II.    Rule 26(a)(1)(A)(ii): A copy of -- or a description by category and location -- of
                  all documents, electronically-stored information, and tangible things that the
                  disclosing party has in its possession, custody, or control and may use to support
                  its claims or defenses, unless the use would be solely for impeachment.

                  A.     CoreCivic Corporate and Facility Policies

                  B.     Trousdale Inmate Handbook

                         Agreements Between CoreCivic and Trinity Services I, LLC

                         American Correctional Association (“ACA”) Accreditation Report

                         Prison Rape Elimination Act (“PREA”) Compliance Report

                         TDOC Ramadan Memos
                 ie




                         Volunteer Recruitment Communications
                 TQ




                         Pleasant-Bey Grievances

                         Pleasant-Bey Religious Accommodation Requests and Responses
                 bet




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                J.     Pleasant-Bey Institutional File

                K.     Pleasant-Bey Medical Records

                L.      Communications and Memos on Pleasant-Bey’s Religious Requests and on
                       Facility Religious Accommodations, Meals, Requests, and Services

                M.     Trousdale Daily Shift Rosters

                N.     Trousdale Staffing Patterns

                0.     Documents that Demonstrate CoreCivic’s Efforts to Hire Additional Staff
                       and to Retain Staff and Documents Showing Staffing Levels

                P.     To the Extent Needed, Documents Regarding           Allegations   of Violent
                       Incidents that Pleasant-Bey May Raise

                Q.     TDOC Use of Force Reports and Other Documents that Show Comparisons
                       of Incidents at Facilities Across the State

                R.     Audit Documents of the Facility, Including from the TDOC and the ACA
                       and Regarding PREA Incidents

                S.     TDOC Contract Monitor Reports and CoreCivic’s Responses

                T.     Comptroller Meeting Minutes, Including from November 26, 2018

                U.     Documents Produced by CoreCivic, Shonebarger, and/or Washburn

                V.     Documents Produced by Pleasant-Bey and/or the State Defendants

          HI.   Rule 26(a)(1)(A)(iii): A computation of any category of damages claimed by the
                disclosing party -- who must also make available for inspection and copying as
                under Rule 34 the documents or other evidentiary materials, unless privileged or
                protected from disclosure, on which each computation is based, including materials
                bearing on the nature and extent of injuries suffered.

                A.     This is not applicable to CoreCivic.

          IV.   Rule 26(a)(1)(A)(iv): For inspection and copying as under Rule 34 any insurance
                agreement under which an insurance business may be liable to satisfy all or part of
                a possible judgment in the action or to indemnify or reimburse for payments made
                to satisfy the judgment.

                A.     Based upon the relief sought, CoreCivic      does not believe that this is
                       applicable to CoreCivic.



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                                                       Respectfully submitted,



                                                            x in        en       Mma
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                                                       Erin Palmer Polly (#22221)
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                                                       Terrence M. McKelvey (#36531)
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                                                       (615) 780-6733

                                                       Counsel for Defendants CoreCivic,
                                                       Inc., Jon Shonebarger, and Russell
                                                       Washburn

                                  CERTIFICATE OF SERVICE

         I certify that a true and exact copy of the foregoing has been served via U. S. Mail, first-
 class postage prepaid, this November 9, 2021, on the following:

  Tricia Herzfeld                                   Eric Fuller
  Branstetter, Stranch & Jennings, PLLC             Nikki N. Hashemian
  223 Rosa L. Parks Avenue, Suite 200               Assistant Attorney General
  Nashville, Tennessee 37203                        P.O. Box 20207
                                                    Nashville, Tennessee 37202



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